Case: 3:21-cv-00314-MJN-PBS Doc #: 10 Filed: 11/26/21 Page: 1 of 6 PAGEID #: 384




                         UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO


  STATE OF ARIZONA, et al.,
                  Plaintiffs,                      No. 3:21-cv-314
  v.                                               Judge Michael J. Newman
  JOSEPH R. BIDEN, et al.,
                  Defendants.




       MEMORANDUM IN OPPOSITION TO MOTION TO TRANSFER VENUE

        This Court should deny the defendants’ motion to transfer venue. (For ease of reference,

we will refer to the defendants collectively as “DHS.”) DHS concedes, as it must, that Ohio is

entitled to sue in this district. See Mot. to Transfer, R.7, PageID#368. And DHS concedes, as it

must, that it would have no basis for seeking transfer of venue if Ohio sued by itself. Id. None-

theless, DHS insists that concerns regarding “systemic integrity” require transferring the case to a

district court within the Ninth Circuit. Id. Why? Because two other States that are Ohio’s co-

plaintiffs in this suit—Arizona and Montana—are challenging a similar-yet-distinct administrative

action in the District of Arizona.

        This argument makes little sense. Because Ohio is entitled to sue here, transferring this

case will get DHS nothing—Ohio would be entitled to dismiss itself from the case and to refile,

alone, in this district. At that point, DHS would have to litigate the same issues in two courts in

different circuits. So a transfer will not do anything to advance “systemic integrity” or “fairness”

concerns. Contra Mot. to Transfer, R.7, PageID#370–71 (citing 28 U.S.C. §1404(a)). If anyone

is guilty of a “pernicious form of forum shopping,” Mot. to Transfer, R.7, PageID#371, it would
Case: 3:21-cv-00314-MJN-PBS Doc #: 10 Filed: 11/26/21 Page: 2 of 6 PAGEID #: 385




be DHS. It is trying to force Ohio to litigate this case in the Ninth Circuit despite the State’s

entitlement to litigate the case in Ohio—presumably because it thinks the Ninth Circuit would be

a more favorable venue.

       And while DHS treats the already-pending case in that circuit as being largely identical to

the case presented here, it is simply wrong: the February 18 Memorandum (“Interim Guidance”)

being challenged in the Ninth Circuit constitutes a separate administrative action from the Perma-

nent Guidance being challenged here. Nothing requires parties to challenge similar-yet-distinct

actions in a single venue.

       Ironically, the conduct that DHS accuses Arizona and Montana of engaging in—avoiding

judicial review in the Ninth Circuit—is actually DHS’s game. When the Arizona district court

denied Arizona and Montana’s request for a preliminary injunction, the States appealed to the

Ninth Circuit the same day. See Doc. 3, Arizona v. DHS, No. 21-16118 (9th Cir. July 2, 2021).

When the Ninth Circuit stayed briefing pending a jurisdictional obstacle, see Doc. 18—which all

parties agreed did not exist, see Docs. 19 and 21—the States moved for reconsideration to reinstate

the briefing schedule. See Doc. 23 (9th Cir. Aug. 13, 2021). And when the Ninth Circuit failed to

act on that request while otherwise denying reconsideration, see Doc. 24 (9th Cir. Aug. 19, 2021),

Arizona and Montana filed their Opening Brief regardless and moved to reinstate the briefing

schedule. See Doc. 32 (9th Cir. Sept. 1, 2021), 34 (9th Cir. Sept. 2, 2021). The Ninth Circuit

ultimately set a briefing schedule, requiring DHS to file its Answering Brief on October 14, 2021.

See Doc. 36 (9th Cir. Sept. 3, 2021).

       DHS, however, moved to hold briefing in abeyance pending a motion to dismiss based on

mootness once the Permanent Guidance becomes effective on November 30. See Doc. 41 (9th

Cir. Oct. 10, 2021). Even though the Ninth Circuit had not acted on that motion by the October




                                                2
Case: 3:21-cv-00314-MJN-PBS Doc #: 10 Filed: 11/26/21 Page: 3 of 6 PAGEID #: 386




14 deadline, DHS neglected to file an Answering Brief. DHS also resisted moving to dismiss on

mootness grounds before November 30, even though it did not identify any additional facts that it

would need in order to file such a motion. See Docs. 42 (9th Cir. Oct. 12, 2021), 43 (9th Cir. Oct

18, 2021).

       The upshot is that, while DHS accuses Arizona and Montana of seeking to evade adjudi-

cation in the Ninth Circuit, those States have filed an Opening Brief in the Ninth Circuit and re-

peatedly sought to have that court decide the issues presented. DHS, in contrast, has steadfastly

refused to engage. The only party attempting to avoid judicial review of issues before the Ninth

Circuit in the Ninth Circuit is DHS.

       DHS’s transfer motion also elides its own arguments. For one, DHS has promulgated the

Permanent Guidance, a new policy, meaning its instant transfer motion lacks merit, since the In-

terim Guidance case does not present a vehicle for the Ninth Circuit to resolve the disputes at issue

here. Moreover, given DHS’s position that the Interim Guidance litigation is moot, the adverse

precedent that DHS accuses Plaintiffs of attempting to avoid will be vacated by DHS’s own hand.

DHS wants it both ways—in the Ninth Circuit, the Permanent Guidance moots the State’s chal-

lenge to the Interim Guidance (and that court has awarded an abeyance on that theory), but in the

Southern District of Ohio, the Interim Guidance litigation is not moot and this Court must not

decide new issues presented.

       This heads-I-win, tails-you-lose approach is inequitable, and certainly provides no basis

for disturbing the strong presumption that a plaintiff’s choice of forum should be respected.

       Finally, while it does not matter legally, the defendants have hinted that Ohio is not really

interested in this case—instead, DHS suggests, Ohio is a barnacle riding along and giving Arizona

and Montana a reason to sue outside the Ninth Circuit. Mot. to Transfer, R.7, PageID #367. Not




                                                 3
Case: 3:21-cv-00314-MJN-PBS Doc #: 10 Filed: 11/26/21 Page: 4 of 6 PAGEID #: 387




so. Ohio has a tremendous interest in preserving the safety of its communities and its social service

resources. What is more, all three States chose to partner together based on the joint expertise

they can bring to bear. Ohio has deep experience with litigation under the Administrative Proce-

dure Act. See, e.g., Ohio v. Raimondo, 848 F. App’x 187 (6th Cir. 2021); Ohio v. EPA, 969 F.3d

306 (6th Cir. 2020); Ohio v. Becerra, No. 1:21-cv-675 (S.D. Ohio). Arizona and Montana do too.

They also have deep experience with the removal process. Together the States can present a clear,

consolidated case without propagating lawsuits in different venues.




                                                 4
Case: 3:21-cv-00314-MJN-PBS Doc #: 10 Filed: 11/26/21 Page: 5 of 6 PAGEID #: 388




                                 Respectfully submitted,

                                 DAVE YOST
                                 Ohio Attorney General

                                 /s/ Benjamin Flowers
                                 Benjamin M. Flowers (0095284)
                                 Solicitor General
                                 May Davis
                                 Deputy Solicitor General
                                 30 East Broad Street, 17th Floor
                                 Columbus, Ohio 43215
                                 Tel: 614-728-7511 | Fax: 614-466-5087
                                 Benjamin.Flowers@OhioAGO.gov

                                 Attorneys for Plaintiff State of Ohio

                                 MARK BRNOVICH
                                 Arizona Attorney General

                                 Anthony R. Napolitano
                                 Assistant Attorney General
                                 2005 N. Central Ave
                                 Phoenix, AZ 85004-1592
                                 Phone: (602) 542-8958
                                 Anthony.Napolitano@azag.gov
                                 ACL@azag.gov

                                 Attorneys for Plaintiff State of Arizona

                                 AUSTIN KNUDSEN
                                 Montana Attorney General

                                 Christian B. Corrigan
                                 Assistant Solicitor General
                                 215 N Sanders St.
                                 Helena, MT 59601
                                 Phone: (406)-444-2026
                                 Christian.Corrigan@mt.gov

                                 Attorneys for Plaintiff State of Montana




                                       5
Case: 3:21-cv-00314-MJN-PBS Doc #: 10 Filed: 11/26/21 Page: 6 of 6 PAGEID #: 389




                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 26, 2021, a copy of the foregoing was filed electroni-

cally. Notice of this filing will be sent to all parties for whom counsel has entered an appearance

by operation of the Court’s electronic filing system.


                                          /s/ Benjamin Flowers
                                          BENJAMIN FLOWERS (0095284)
                                          Solicitor General




                                                 6
